Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 1 of 19

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LISA KAZDA,
Plaintiff
Vv.

JURY TRIAL DEMANDED
NAVIENT SOLUTIONS, LLC,

No,
Defendant
COMPLAINT
L. JURISDICTION

 

1. This action is authorized, initiated, founded upon, and arises under the
provisions of federal law, particularly the Americans With Disabilities Act, 42 U.S.C. §
12101 et seq, (hereinafter “ADA”); as well as its jurisdiction over pendent state claims,
particularly the Pennsylvania Human Relations Act, 43 P.S. § 955 (a) and (d).
Declaratory relief is sought under 28 U.S.C. §§ 2201 and 2202.

2. The jurisdiction of this Court is invoked pursuant to the provisions of 28
U.S.C. §§1331 and 1343, as well as its jurisdiction over pendent state ciaims.

3. The amount in controversy in this matter exceeds seventy five thousand
dollars ($75,000.00).

4, The violations of the Plaintiff's rights as alleged herein were committed

within the Middie District of Pennsylvania.

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 2 of 19

ll. PARTIES

5. The Plaintiff, Nicole Gugger, is an adult individual and a citizen of the
United States and the Commonwealth of Pennsylvania and resides at 348 Oakdale
Road, Hunlock Creek, Luzerne County, PA 18621.

6. Defendant Navient Solutions, LLC is a limited liability company organized
under the laws of Delaware with places of business at 2001 Edmund Hailey Dr. MD,
Reston, VA and 220 Lasley Avenue, Wilkes-Barre, Luzerne County, PA 18706.

| 7. Defendant employs more than 1000 individuals.

8. Ataill times material hereto Defendants was, and is, engaged in an
industry affecting interstate commerce.

9. Atail times material hereto, Defendant was, and is, an employer within
the meaning of the Americans with Disabilities Act, and the Pennsylvania Human
Relations Act, 43 PS §955 (a)and (d) , in that Defendant, at all times material hereto,
was engaged in an industry affecting commerce, and has employed fifty (50) or more
employees for every working day in each of twenty (20) or more calendar weeks in the
current and preceding calendar year.
lll. ADMINISTRATIVE PREREQUISITES

10. Plaintiff timely filed a complaint against the Defendant with the Equal
Employment Opportunity Commission (EEOC) and the Pennsylvania Human Relations
Commission (PHRC), alleging disability discrimination and retaliation, on April 16, 2020.

11. The EEOC has issued a notice of right-to-sue dated August 3, 2020.

42. The PHRC has been requested to issue a notice of right-to-sue, to which

Plaintiff is entitled.
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 3 of 19

iV. _ RIGHT OF EQUITABLE RELIEF

43. Plaintiff has no plain, adequate or complete remedy at law to redress the wrongs
herein alleged, and this suit for declaratory and injunctive relief is Plaintiff's only means of
securing adequate relief.

V. JURY TRIAL DEMANDED

14.. Plaintiff demands trial by jury on this Complaint.
VI. FACTUAL. ALLEGATIONS

15. At all times material hereto, Plaintiff was employed by Defendant as a Loan
Servicing Specialist at its 220 Lasley Avenue, Wilkes-Barre location.

46. At all times material hereto, Plaintiff was qualified to perform the duties of a Loan
Servicing Specialist for Defendant.

17. Plaintiff was employed by Defendant or its predecessor since about 1994.

18. Plaintiff was employed by Defendant in the position of Loan Servicing Specialist
since or about 2010.

19. Atall times material hereto, since or about 2015, Plaintiff has been diagnosed
with anxiety and major depression, which is a serious psychological disorder.

20. Plaintiff's illness constituted psychological impairments, as described herein,
which substantially limited Plaintiff in the major life activities of sleeping, social interactions,
concentrating, thinking, communicating, and working.

21. With regard to her position as a Loan Servicing Specialist, Plaintiff was, and is, a
qualified individual with a disability.

22.  Atall times material hereto, Defendant was aware of Plaintiff's symptoms,

diagnosis of anxiety and depression, medical condition and disability.

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 4 of 19

23. Defendant regarded Plaintiff as being a qualified individual with a disability.

24, Plaintiff had a record with Defendant of being a qualified individual with a
disability.

25, In the course of her employment with Defendant, Plaintiff requested, and
received, reasonable accommodations of her disability, in the form of allowance of working
from home and, separately, limitations on overtime hours.

26. In the course of her employment with Defendant, Plaintiff requested intermittent
medical leave under the Family and Medical Leave Act on account of her disability.

27.  Atall times material hereto, Plaintiff performed her duties as a Loan Servicing
Specialist in a good, competent and professional manner.

28. ‘Plaintiff's direct supervisor in 2019 was Melissa Wilson.

29. Ms. Wilson supervised approximately 15 to 20 employees.

30. Beginning in 2015, Plaintiff requested orally and in writing the reasonable
accommodation, supported in writing by her psychiatrist, that she not be subject to job and
task switching in the course of the work day on account of her disability.

341. Plaintiff continued to make her requests for the reasonable accommodation of
not being subjected to job and task switching in the course of the work day throughout the
entire course of her employment with Defendant.

32. In the course of her typical work day, Plaintiff was assigned to respond to a wide
variety of e-mail inquiries, necessitating moving to and from many different resources,
including, but not limited to, loan repayment options, customer complaints, repayment
deferments on account of cancer diagnoses, due date changes, deferments of forbearances,

and opting out of marketing e-mails.
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 5 of 19

33. Other Loan Servicing Specialists under the supervision of Ms. Wilson were not
subjected to job and task switching in the course of the work day and were assigned work
which were essentially single tasks for the day.

34. The constant task switching both exacerbated Plaintiff's disability and impaired
her performance metrics by comparison to similarly situated employees who were not
subjected to job and task switching in the course of the work day.

35. Defendant did not grant Plaintiff's written and oral requests for the reasonable
accommodation of not being subjected to job and task switching in the course of the work day.

36. In the jate summer and fall of 2019, Defendant assigned single daily task duties
to the following Loan Servicing Specialists under the supervision of Melissa Wilson: Stacey
Kulp, Margaret Kolanich, Audrey Tigue and Ken Williams.

37. Kulp, Kolanich and Tigue’s daily work was limited to checking outgoing e-mails
for accuracy, grammar and spelling, a function very similar to Plaintiffs former job functions as
an editor, which she also successfully performed.

38. Williams's daily work was responding to mailed letters, which generally involved
attorney inquiries, which were of a routine nature.

39. Upon information and belief, none of the above described Loan Servicing
Specialists had disabilities.

40. Plaintiff was able to perform ail of the job functions performed by the above
described Loan Servicing Specialists and each of the above described Loan Servicing

Specialists were able to perform the job functions of Plaintiff.
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 6 of 19

41. The assignment to Plaintiff of the daily, single task duties, given to the above
described Loan Servicing Specialists would have fulfilled the reasonable accommodation
request of Plaintiff.

42. Two other Loan Servicing Specialists, Brian Fox and Fred Miller, were assigned
the single duty daily function of web chat, which work was not subject to task and job duty
changes on a daily basis, nor were not subject to metric measurements.

43. Upon information and belief, neither Fox nor Miller had disabilities.

44, Plaintiff was able to perform all of the job functions performed by Fox and Miller
and each of them were able to perform the job functions of Plaintiff.

45. The assignment to Plaintiff of the daily, single task duties, given to the above
described Loan Servicing Specialists would have fulfilled the reasonable accommodation
request of Plaintiff.

46. Defendant denied Plaintiff's request to perform the functions of any of the above
six Loan Servicing Specialists.

47. Defendant could have honored Plaintiff's requested accommodations without
undue hardship to itself.

48. Defendant failed to engage in an interactive process with Plaintiff with regard to
the requested reasonable accommodations.

49. Plaintiff required reasonable accommodations for her disability to enable her to
continue to perform the essential functions of her job as a Loan Servicing Specialist, as

directed and measured by Defendant.
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 7 of 19

50. The failure and refusal of Defendant to engage in an interactive process with
Plaintiff and to provide the requested reasonable accommodations severely impaired Plaintiff's
ability to perform her tasks and to accomplish the metrics assigned to her by Defendant.

51. The above described Loan Servicing Specialists were not impaired in their ability
to accomplish the metrics assigned to them by Defendant, either because no metrics were
assigned to them (Fox and Miller) or because they were not subjected to job and task
switching on a daily basis (ail).

52. _ Plaintiff continued to make her requests for the reasonable accommodation of
not being subjected to job and task switching in the course of her daily work day, through and
including October 11, 2019.

53. Because her repetitive requests for the reasonable accommodation of not being
subjected to job and task switching in the course of her daily work day had been denied by her
supervisor, Ms. Wilson, Plaintiff requested that her supervisor be changed on October 11,
2019, as a further request for a reasonable accommodation.

54. Defendant did not, thereafter, change Plaintiffs supervisor.

55. Defendant engaged in a course of animus and hostility toward Plaintiff on
account of her repetitive requests for the reasonable accommodation of not being subjected to
job and task switching in the course of her daily work day.

56, Defendant terminated Plaintiffs employment on October 22, 2019.

57. The ostensible reason for the termination of Plaintiff's employment was her job
performance.

58. The ostensible reason for the termination of Plaintiff's employment was false and

pretextual on account of disability.

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 8 of 19

59. The ostensible reason for the termination of Plaintiff's employment was false
and pretextual on account of retaliation for having made requests for reasonable
accommodations of her disability.

60. Defendant terminated Plaintiff on account of her disability.

61. Defendant terminated Plaintiff in retaliation for having made requests for
reasonable accommodations of her disability.

62. Plaintiff has suffered damages in the form of loss of compensation, loss of
employment benefits, emotional distress and other compensatory and consequential damages,
on account of the illegal actions and omissions of Defendant.

63. The actions and omissions of Defendant were outrageous, extremely offensive,
intentional, discriminatory and retaliatory against Plaintiff on a continuing basis and were
performed with malice and reckless indifference to Plaintiff's civil rights.

Vil. CAUSES OF ACTION

COUNT I
Americans with Disabilities Act
42 USC Sec. 12101 et seg.

Discrimination on Account of Disability
Termination

64. Paragraphs 1 through 63 of this Complaint are incorporated herein by
reference as though set forth in full.
65. Defendants terminated Plaintiff on account of her disability, its regard of

her as being disabled, and/or her record of disability.
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 9 of 19

66. The unlawful employment practices hereinbefore stated were intentional
and discriminatory towards Plaintiff on account of disability on a continuing basis, and
constitute violations of the Americans with Disabilities Act, 42 U.S.C. §12101 ef seq.

67. Plaintiff has suffered damages in the form of loss of employment, loss of
compensation, loss of employment benefits, emotional distress, and other
compensatory and consequential damages.

68. The actions taken by Defendant as described herein were willful,
deliberate, intentional, outrageous and performed with an extreme indifference to the
rights of Plaintiff such as an award of punitive damages is warranted.

WHEREFORE, Plaintiff demands judgment and prays:

a. that this Court declare that the practices described herein are

discriminatory and in violation of the Americans with Disabilities Act, 42 U.S.C. §12101
et seq.;

b. that this Court enter an injunction prohibiting discrimination against
employees on the basis of disability with regard to the terms and conditions of
employment;

Cc. that this Court order reinstatement of the Plaintiff, without loss of seniority
or other benefits which would have accrued had Plaintiff not been wrongfully terminated;
or, in the alternative, entry of a money judgment awarding Plaintiff damages
representing lost wages and other sums of money including retirement benefits and
other employment benefits which Plaintiff would have earned had there not been
discrimination, together with interest on said amount from the date of termination;

d. that this Court order the payment of compensatory damages;

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 10 of 19

e, that this Court order the payment of punitive damages;
f. that this Court order the payment of reasonable attorney fees and cosis;
g. that this Court retain jurisdiction over this action to ensure full compliance

with the orders of this court and with applicable laws that require the filing of such
reports as this Court deems necessary to evaluate such compliance; and
h, that this Court order such other and further relief as may be just and

equitable.

COUNT Ii
Pennsylvania Human Relations Act

43 PS Sec. 955(a}

Discrimination on Account of Disability
Termination

69. Paragraphs 1 through 68 of this Complaint are incorporated herein by
reference as though set forth in full.

70. Defendant terminated Plaintiff's employment on account of her disability,
its regard of her as being disabled, and/or her record of disability.

71. The unlawful employment practices hereinbefore stated were intentional
and discriminatory towards Plaintiff on account of disability on a continuing basis, and
constitute violations of the Pennsylvania Human Relations Act.

72. Plaintiff has suffered damages in the form of loss of employment, loss of
compensation, loss of employment benefits, emotional distress, and other
compensatory and consequential damages.

WHEREFORE, Plaintiff demands judgment and prays:

10
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 11 of 19

a. that this Court declare that the practices described herein are

discriminatory and in violation of the PHRA.;

b. that this Court enter an injunction prohibiting discrimination against
employees on the basis of disability with regard to the terms and conditions of

employment;

Cc. that this Court order reinstatement of the Plaintiff and provide a
reasonable accommodation for disability, without loss of seniority or other benefits
which would have accrued had there not been a wrongful termination; or, in the
alternative, entry of a money judgment awarding Plaintiff damages representing lost
wages and other sums of money including retirement benefits and other employment
benefits which Plaintiff would have earned had there not been discrimination, together

with interest on said amount from the date of termination;

d. that this Court order the payment of compensatory damages
e. that this Court order the payment of reasonable attorney fees and costs;
f. that this Court retain jurisdiction over this action to ensure full compliance

with the orders of this court and with applicable laws that require the filing of such
reports as this Court deems necessary to evaluate such compliance; and

g. that this Court order such other and further relief as may be just and

equitable.

1
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 12 of 19

COUNT Ili
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
42 U.S.C. §12101 et seq.
RETALIATION
Termination

73. Paragraphs 1 through 72 of this Complaint are incorporated herein by

reference as though set forth in full.

74. The termination of Plaintiff by Defendant was in retaliation for her requests

for a reasonable accommodation.
75. The unlawful employment practices hereinbefore stated were

intentional and discriminatory towards Plaintiff on account of engaging in a protected
activity under the statute, on a continuing basis, and constitute violations of the

Americans with Disabilities Act, 42 U.S.C, §12101 et seq.
WHERFORE, Plaintiff demands judgment in against the Defendant and prays:

a. _ That this court declare that the practices in which the Defendant has
engaged are retaliatory and in violation of the Americans with Disabilities Act, 42 U.S.C.

§12101 ef seq.;

b, That this court permanently enjoin the Defendant from retaliating against
employees on the basis of disability accommodation requests with regard to the terms

and conditions of employment;

12

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 13 of 19

Cc. That this Court order reinstatement of the Plaintiff, without loss of seniority
or other benefits which would have accrued had Plaintiff not been wrongfully terminated;
or, in the alternative, entry of a money judgment against Defendant awarding Plaintiff
damages representing lost wages and other sums of money including retirement
benefits and other employment benefits which Plaintiff would have earned had Plaintiff
not been discriminatorily terminated, together with interest on said amount from the date

of Plaintiff's termination.

d. That this Court order the Defendant to pay Plaintiff compensatory

damages;
e. That this Court order the Defendant to pay Plaintiff punitive damages;

f. That this Court order the Defendant to pay Plaintiffs reasonable attorney

fees and costs of this litigation;

g. That this Court retain jurisdiction over this action to ensure full compliance
with the orders of this court and with applicable laws that require Defendant to file such

reports as this Court deems necessary to evaluate such compliance; and

h. That this Court order such other and further relief as may be just and

equitable.

13
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 14 of 19

COUNT IV
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

43 P.S. §955(d)
RETALIATION

Termination

76. Paragraphs 1 through 75 of this Complaint are incorporated herein by

reference as though set forth in full.

77. The termination of Plaintiff by Defendant was in retaliation for her requests

of a reasonable accommodation.

78. The unlawful employment practices based on participation in a protected
activity hereinbefore stated constitute a violation of the Pennsylvania Human Relations

Act, 43 P.S. §955(d).
WHEREFORE, Plaintiff demands judgment against the Defendant and prays:

a. that this court declare that the practices in which the Defendant has engaged
are retaliatory and in violation of the Pennsylvania Human Relations Act, 43 P.S.
§955(d),;

b. that this court permanently enjoin the Defendant from retaliating against
employees of the Defendant on the basis of disability accommodation requests with
regard to the terms and conditions of employment;

Cc, that this court order reinstatement of the Plaintiff, without loss of seniority
or other benefits which would have accrued had Plaintiff not been wrongfully terminated;
or, in the alternative, entry of a money judgment against Defendant awarding Plaintiff

damages representing lost wages and other sums of money including retirement

14
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 15 of 19

benefits and other employment benefits which Plaintiff would have earned had Plaintiff
not been terminated, together with interest on said amount from the date of Plaintiff's

termination.

a. that this Court order the Defendants to pay Plaintiff compensatory

damages;

b. that this Court order the Defendants to pay Plaintiff's reasonable attorney

fees and costs of this litigation;

C. that this Court retain jurisdiction over this action to ensure full compliance
with the orders of this court and with applicable laws that require Defendants to file such
reports as this Court deems necessary to evaluate such compliance, and

d. that this Court order such other and further relief as may be just and

equitable.

COUNT V
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

42 U.S.C. §12101 et seq.
FAILURE TO ACCOMMODATE

79. | Paragraphs 1 through 78 of this Complaint are incorporated herein by

reference as though set forth in full.

80, The unlawful employment practices hereinbefore stated constitute a
violation of the Americans with Disabilities Act 42 U.S.C. §12101 et seq., as Defendant

failed to grant Plaintiff's requests for reasonable accommodation for her disability.

WHEREFORE, Plaintiff demands judgment in her favor and

15

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 16 of 19

against the Defendant and prays:

a. That this Court declare that the practices in which the

Defendants have engaged are illegal and in violation of the Americans with Disabilities

Act 42 U.S.C. §12101;

b. That this Court permanently enjoin the Defendans from denying requests

for reasonable accommodations by employees with regard to their disabilities;

Cc, That this Court order reinstatement of the Plaintiff, without loss of seniority
or other benefits which would have accrued had she not been wrongfully terminated; or,
in the alternative, entry of a money judgment against Defendant awarding Plaintiff
damages representing lost wages and other sums of money including retirement
benefits and other employment benefits which Plaintiff would have earned had she not
been denied the requested reasonable accommodations, together with interest on said

amount from the dates of Plaintiff's demotion and termination.

d. That this Court Order the Defendant to pay Plaintiff compensatory

damages;
e. That this Court Order the Defendant to pay Plaintiff punitive damages;

f. That this Court Order the Defendant to pay Plaintiff's reasonable

attorneys’ fees and costs of this litigation;

g. That this Court retain jurisdiction over this action to ensure full compliance
with the orders of this court and with applicable laws that require Defendant to file such

reports as this Court deems necessary; and,

16
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 17 of 19

h. That this Court Order such other and further relief as may be just and

equitable.

COUNT VI
VIOLATION OF THE PENNSYLVANIA
HUMAN RELATIONS ACT, 43 P.S. §955(a)
FAILURE TO ACCOMMODATE

81. Paragraphs 1 through 80 of this Complaint are incorporated herein

by reference as though set forth in full.

82. The unlawful employment practices hereinbefore stated constitute a

violation of the Pennsyivania Human Relations Act, 43 P.S. §955(d).

WHEREFORE, Plaintiff demands judgment in her favor and against the

Defendants and prays:

a. that this court declare that the practices in which the Defendant has
engaged are discriminatory and in violation of the Pennsylvania Human Relations Act,
43 P.S. §955(d);

b. that this court permanently enjoin the Defendant from denying requests for
reasonable accommodations from employees and otherwise discriminating against
employees of the Defendant on the basis of disability with regard to the terms and
conditions of employment;

C. that this court order reinstatement of the Plaintiff, without loss of seniority
or other benefits which would have accrued had she not been wrongfully terminated; or,
in the alternative, entry of a money judgment against Defendant awarding Plaintiff

damages representing lost wages and other sums of money including retirement

17

 
Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 18 of 19

benefits and other employment benefits which Plaintiff would have earned had she not
been denied the requested reasonable accommodation, together with interest on said

amount from the dates of Plaintiffs demotion and termination.

d, that this Court order the Defendant to pay Plaintiff compensatory
damages;
e. that this Court order the Defendant to pay Plaintiff's reasonabie attorney

fees and costs of this litigation;

f. that this Court retain jurisdiction over this action to ensure full compliance
with the orders of this court and with applicable laws that require Defendants to file such

reports as this Court deems necessary to evaluate such compliance; and

g. that this Court order such other and further relief as may be just and

equitable.

RESPECTFULLY SUBMITTED:

By:  /s/ Kimberly D. Borland
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Case 3:20-cv-02009-JPW Document1 Filed 10/30/20 Page 19 of 19

VERIFICATION

| verify that the avermnents made in the Complaint are true and correct. |
understand that false statements herein are made subject to the penalties of 18 Pa.C.S.A.

§4904, relating to unsworn falsification to authorities.

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LISA KAZDA

 

 
